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 7
                         UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9
      KIMBERLY SMITH,                             ) Case No. 2:15-cv-00010-DSF-JPR
10
                                                  )
11    Plaintiff,                                  ) NOTICE OF SETTLEMENT
12                                                )
             vs.                                  )
13
                                                  )
14    MIDLAND CREDIT                              )
      MANAGEMENT, INC.,                           )
15
                                                  )
16    Defendant.                                  )
17
                                                  )

18           NOW COMES THE PLAINTIFF by and through her attorney to
19    respectfully notify this Honorable Court that this case has settled. Plaintiff
20    requests that this Honorable Court vacate all pending hearing dates and allow
21
      sixty (60) days with which to file dispositive documentation. A Joint Stipulation
22
      of Dismissal will be forthcoming. This Court shall retain jurisdiction over this
23
      matter until fully resolved
24
                                Respectfully submitted this 17th day of June, 2015.
25
                                           By: s/Todd M. Friedman
26                                            TODD M. FRIEDMAN
27                                            Law Offices of Todd M. Friedman, P.C.
                                              Attorney for Plaintiff
28




                                       Notice of Settlement - 1
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 1    Filed electronically on this 17th day of June, 2015, with:
 2
      United States District Court CM/ECF system
 3

 4    Notification sent electronically via the Court’s ECF system to:
 5
      Honorable Dale S. Fischer
 6    United States District Court
 7    Central District of California
 8

 9    Peter J Caltagirone
      Solomon Ward Seidenwurm and Smith LLP
10

11    Thomas F Landers , Jr
12    Solomon Ward Seidenwurm & Smith LLP
13

14    This 17th day of June, 2015.
15
      s/Todd M. Friedman
16    Todd M. Friedman
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                                        Notice of Settlement - 2
